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                                                                              United States District Court
                                                                                  Southern District of Texas

                                                                                      ENTERED
                                                                                    March 31, 2021
                        UNITED STATES DISTRICT COURT
                                                                                  Nathan Ochsner, Clerk
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )
                                          )
STATE OF TEXAS,                           )
                                          )
                     Plaintiff,           )
and                                       )
                                          )
BAYOU CITY WATERKEEPER,                   )
                                          )
              Plaintiff-Intervenor,       )
                                          )
              v.                          )      Civil Action No. 4:18-cv-03368
                                          )      Judge Charles R. Eskridge
CITY OF HOUSTON, TEXAS,                   )
                                          )
                     Defendant.           )
                                          )


      ORDER APPROVING CONSENT DECREE AND FINAL JUDGMENT

       Upon consideration of the Opposed Motion for Entry of the Consent

Decree (“Motion”) filed by the United States and the State of Texas, as well as all

materials submitted by the parties with respect to the Motion, the Court finds that

the Consent Decree previously lodged with the Court (ECF No. 40-1) is fair,

adequate, reasonable, and consistent with the public interest. Accordingly, the

Court hereby GRANTS said Motion. It is hereby ORDERED that the Consent

Decree between Plaintiffs, the United States of America and the State of Texas,
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and Defendant the City of Houston, Texas, shall be signed and entered as the final

judgment in this action.

       It is further ORDERED that, consistent with Bayou City Waterkeeper’s

(“Plaintiff-Intervenor BCWK”) status as an intervenor, copies of any final

Deliverables required under the Decree and submitted by the City of Houston to

EPA and TCEQ under the terms of the Decree, any Annual Reports and any

Monthly SSO reports shall also be provided to the Plaintiff-Intervenor BCWK to

allow Plaintiff-Intervenor BCWK to monitor implementation of the Decree. If any

party to the Decree files a motion with the Court arising under the Decree, such

motion and any response shall be served on Plaintiff-Intervenor BCWK, and

BCWK, consistent with its status as an intervenor, may respond to any such

motion.

       Plaintiff-Intervenor BCWK’s objections to the Consent Decree are

OVERRULED, and all of Plaintiff-Intervenor BCWK’s requests for relief are

DENIED. All relief not expressly granted in the Consent Decree or this Order is

DENIED.

       SO ORDERED.

       Signed on March 31, 2021, at Houston, Texas.



                                   __________________________________
                                   Hon. Charles R. Eskridge
                                   United States District Judge



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